Case 2:04-CV-02056-SHI\/|-tmp Document 40 Filed 05/11/05 Page 1 of 2 Page|D 54

  

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

MILDRED MINNIS and ARACIA PARKER
On behalf of themselves and as
Representatives of a ClaSS of all
others Similarly Situated,

Plaintiffs,

VS. NO. 04-2056-Ma/P

CITY OF MEMPHIS, COUNTY OF SHELBY,
STATE OF TENNESSEE, MEMPHIS HOUSING
AUTHORITY, MEMPHIS LIGHT, GAS & WATER,
SHELBY COUNTY ASSESSOR, SHELBY COUNTY
TRUSTEE and the STATE OF TENNESSEE,

Defendants.

 

ORDER GRANTING LEAVE TO FILE REPLY

 

Before the court is the May lO, 2005 motion by Defendants
County of Shelby, Shelby County Assessor and Shelby County
Trustee for leave to file reply to “Plaintiffs' Response to
Motion to Dismiss”. For good cause Shown, the motion is granted.

:T 15 so oRDERED this 'm` day of May, 2005.

J¢//”M-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with Hu!e 58 and/or 79(a) FHCP on 2’11“05 %O

 

May ]1, 2005 to the parties listed.

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Honorable Samuel Mays
US DISTRICT COURT

